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           1     MACDONALD | FERNANDEZ LLP
                 IAIN A. MACDONALD (SBN 051073)
           2
                 RENO F.R. FERNANDEZ III (SBN 251934)
           3     MATTHEW J. OLSON (SBN 265908)
                 914 Thirteenth Street
           4     Modesto, CA 95354
                 Telephone: (209) 521-8100
           5     Facsimile: (209) 236-0172
           6
                 Attorneys for Debtor in Possession,
           7     JEFFERY EDWARD ARAMBEL

           8                                 UNITED STATES BANKRUPTCY COURT

           9                                  EASTERN DISTRICT OF CALIFORNIA

          10      In Re:                                          Case No. 18-90029-E-11

          11      JEFFERY EDWARD ARAMBEL,                         Chapter 11

          12                           Debtor.                    Docket Control No. MF-9

          13                                                      Date: April 19, 2018
                                                                  Time: 10:30 a.m.
          14                                                      Place: Courtroom 33
                                                                         501 I Street, 6th Floor
          15                                                             Sacramento, California

          16                                                               Hon. Ronald H. Sargis

          17
                       DECLARATION OF JEFFREY EDWARD ARAMBEL IN SUPPORT OF
          18      DEBTOR IN POSSESSION’S MOTION FOR AUTHORITY TO SELL REAL PROPERTY
                                 FREE AND CLEAR OF LIENS (HOME RANCH)
          19

          20            I, Jeffrey Edward Arambel, declare:

          21            1.      I am the Debtor in Possession herein. I am over the age of eighteen. The following

          22     facts are true and correct of my own knowledge. If called as a witness, I could and would

          23     competently testify as follows.

          24            2.      I negotiated a sale of that certain real property known as “Home Ranch,” comprising

          25     approximately 180.81 acres of apricot and peach orchards on Needham Road west of Westley,

          26     California (APNs 021-013-025, 021-013-026, 021-013-027, and 021-013-028) (the “Property”), to

          27     Skip Foppiano for the gross price of $3,700,000.00, as further described in the Purchase and Sale

          28     Agreement (the “PSA”), a true and correct copy of which is offered as Exhibit “A” to the

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                 3
           1     accompanying Motion and is incorporated herein by reference.

           2             3.      The Property secures the following estimated claims:

           3                        Priority            Claim Holder                  Estimated Claim
           4                          Tax      Stanislaus County Tax Collector               $36,724.57
                                       1st        Mid Valley Services, Inc.                 $861,264.44
           5                          2nd         Mid Valley Services, Inc.               $3,296,408.33
                                      3rd                  Summit                         $5,378,229.00
           6
                                      4th                   EDD                              $20,251.85
           7

           8     I reserve all rights to object to these claims.

           9             4.      A true and correct copy of the title report related to this sale is offered as Exhibit “C.”

          10             5.      Summit’s lien against the Property arises from my guarantee of a loan to JEA2, LLC.

          11     A true and correct copy of Summit’s Deed of Trust which recites that it is based on the loan to JEA2,

          12     LLC is offered as Exhibit “D.” JEA2 was created at Summit’s insistence in connection with the

          13     funding of a loan. In connection with that transaction, JEA2 was established, Summit lent money to

          14     JEA2, and I was required to guarantee JEA2’s borrowing.

          15             6.      I was unaware that the Employment Development Department had a lien against any

          16     of my properties until I reviewed the title report for this sale. A true and correct copy of the lien is

          17     offered as Exhibit “E.” The date stamp from the County Recorder indicates that the lien was not

          18     recorded until after I filed my voluntary petition to commence this bankruptcy case.

          19             7.      I estimate that there will be escrow fees, recording fees, transfer taxes and other

          20     closing costs that will not exceed 2% of the gross purchase price, which is $74,000.00.

          21             8.      A portion of the purchase price is comprised of $100,000.00 in the form of two

          22     $50,000.00 deposits Mr. Foppiano paid in connection with the potential sale of certain other real

          23     properties, namely the “Kellner Ranch” and the “Newman Ranch.” Mr. Foppiano and I dispute

          24     whether said deposits are refundable.

          25             9.      Regardless of any contrary or vague terms of the PSA, Mr. Foppiano and I agree that

          26     the PSA is entered into by the Debtor in Possession and that it is subject to Court approval and

          27     overbid.

          28             10.     The Property is to be sold upon an “as is,” “where is” and “with all faults” basis.

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                 3
           1               11.    The due diligence period has elapsed, and I have not received any notice or indication

           2     of cancellation or termination of the PSA. There are no outstanding contingencies.

           3               12.    Mr. Foppiano has paid a deposit of $2,000.00 to escrow.

           4               13.    The assets to be sold include any crop grown in 2018 and its proceeds. I expect that

           5     there will no crop or only a nominal crop as the apricot orchards are not currently being farmed.

           6               14.    It is my opinion that the most likely alternative to the proposed sale is for Mid Valley

           7     Services, Inc. or Summit to foreclose their liens against the Property. I expect that this would

           8     seriously depress the value of the Property, undercutting distributions to other creditors and

           9     stakeholders.

          10               15.    The aforesaid negotiations were conducted at arm’s-length.

          11               16.    I have no relationship to Mr. Foppiano. I know of no relationship between Mr.

          12     Foppiano and any of my major creditors.

          13               17.    I understand that Mr. Foppiano may assign the Property to a related assignee, which

          14     would be a business entity owned by Mr. Foppiano. I know of no plan or intention for Mr. Foppiano

          15     to assign the Property to any individual or entity related to myself or any of my major creditors.

          16               18.    Except for the aforesaid purchase price, Mr. Foppiano has not offered me any

          17     compensation and has not offered any compensation to any of my employees (I have none) or

          18     agents.

          19               19.    I know of no plan or intention for Mr. Foppiano pay any consideration to any person

          20     or entity other than my estate in connection with the sale.

          21               20.    I anticipate no significant tax impacts from the proposed sale because of the

          22     substantial net operating loss carryovers I have accrued from prior tax years.

          23               21.    In light of the foregoing, I have determined that the proposed sale is in the best

          24     interests of the estate.

          25               I declare under penalty of perjury under the laws of the United States of America that the

          26     foregoing is true and correct. Executed this 29th day of March, 2018, at Modesto, California.

          27
                                                                         /s/ Jeffrey Edward Arambel
          28                                                            JEFFREY EDWARD ARAMBEL

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